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                          TN THE UNITED STATES DISTRICT COURT                            ~.   o ~ zo2~
                      FOR THE NORTHERN DISTRICT OF WEST VIRGINIA                     0
                                                                                                COURT~~~
                                        Martansburg Division                                    GWV25401


 UNITED STATES OF AMERICA

 V.                                                 Case No.    3: at1vl’3 I
 JONATHAN TOEBBE and
 DIANA TOEBBE,

                      Defendants.

                                    AFFIDAVIT IN SUPPORT OF
                                     CRIMINAL COMPLAINT

        I, Justin Van Tromp, being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

        1.        I make this affidavit in support of a Criminal Complaint alleging that the

defendants, JONATHAN TOEBBE and DIANA TOEBBE, have violated 42 U.S.C.                     § 2274(a).
       2.         1 am a Special Agent with the Federal Bureau of Investigation (“FBI”) assigned to

the FBI Pittsburgh Field Office. I have been a Special Agent with the FBI since May 2018. 1

completed Special Agent training at the FBI training center in Quantico, Virginia, in September

2018, which includes curriculum on conducting counterintelligence and counterproliferation

investigations.     Upon graduation from the FBI academy, I have been assigned to work

counterintelligence investigations and have been working multiple cases involving economic

espionage. Prior to joining the FBI, I was employed by the United States Secret Service as a

Special Agent for 11 years.         As a U.S. Secret Service agent, I worked financial crimes

investigations and served on the Presidential Protective Division. During that time, I also worked

on the Joint Terrorism Task Force at the FBI’s Washington Field Office and conducted complex

counterterrorism investigations. Prior to that, I was employed as a Special Agent with the Air
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 Force Office of Special Investigations, working counterintelligence and general criminal

 investigations.

        3.         The facts in this affidavit come from my personal investigation and observations,

my training and experience, and information obtained from other agents and witnesses. This

affidavit is intended to show simply that there is sufficient probable cause for this Criminal

Complaint and the requested arrest warrants and does not set forth all of my knowledge about this

matter. I have set forth only the facts I believe are necessary to establish probable cause that the

defendants have violated 42 U.S.C.     § 2274(a).
              RELEVANT STATUTES, REGULATIONS, AND AUTHORITIES

        4.         The Atomic Energy Act (the “Act”) prohibits, inter alia, individuals who have

possession of~ access to, control over, or are entrusted with any document, writing, sketch,

photograph, plan, model, instrument, appliance, note, or information involving or incorporating

Restricted Data from communicating, transmitting, or disclosing it to any individual or person, or

attempting or conspiring to do so, with the intent to injure the United States or to secure an

advantage to any foreign nation. 42 U.S.C.       §   2274(a). “Restricted Data” consists of “all data

concerning (1) design, manufacture, or utilization of atomic weapons; (2) the production of special

nuclear material; or (3) the use of special nuclear material in the production of energy,” but does

not include data that has been declassified or removed from the Restricted Data category. 42

U.S.C. §2014(y).

                                        PROBABLE CAUSE

        5.         As detailed below, the FBI’s investigation has revealed that JONATHAN

TOEBBE, a current employee of the United States Navy, has passed, and continues to attempt to

pass, Restricted Data as defined by the Atomic Energy Act, specifically 42 U.S.C.     § 2014(y), to a
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foreign government, hereinafter “COUNTRY 1,” with the witting assistance of his spouse, DIANA

TOEBBE.

       The FBI Retrieves Package Containing U.S. Navy Documents from LEGAT in
                                     COUNTRY1

        6.      On or about December 20, 2020, the FBI’s attaché (“LEGAT”) in COUNTRY1

obtained a package representatives from COUNTRY1 had received in April 2020 through a mail

carrier from the U.S. by an unidentified subject in an attempt to establish a covert relationship.

The package contained U.S. Navy documents, a letter containing instructions, and an SD card

containing specific instructions on how COUNTRY 1 should respond using an encrypted

communication platform, and additional documents.

        7.     In the letter, the sender stated a desire to sell documents containing U.S. Navy

information marked CONFIDENTIAL that included printouts, digital media files containing

technical details, operations manuals, and performance reports.           The letter requested the

transmission of the enclosed technical data to COUNTRY 1’s military intelligence agency. The

sender wrote: “I apologize for this poor translation into your language. Pleaseforward this letter

to your military intelligence agency. I believe this information will be ofgreat value to your nation.

This is not a hoax.”

       8.      The package that contained the material described above was a brown envelope

with four U.S. postage stamps, a postal barcode, and a sent date of April 1, 2020. The return address

was identified as a location in Pittsburgh, Pennsylvania.

       9.      A subject-matter expert at the U.S. Navy with knowledge of the documents

included in the package sent to COUNTRY I informed the FBI that these documents were U.S.

Government documents that contained Restricted Data.


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        10.    On December 23, 2020, the FBI analyzed the encryption keys that were in the SD

card sent in the original envelope. There were three keys located on the SD card: Alice Hill     —




Public Key, Bob Burns    —   Private Key, and a ProtonMail Public Key. In cryptography, Alice and

Bob are commonly used as placeholders in discussions about cryptographic protocols or systems.

The FBI noted that the public key Alice Hill had two sub-keys. The first sub-key was used to sign

and certify.

        11.    The private key Bob Burns had two sub-keys. The first sub-key was used to sign

and certif~’. The second sub-key was used for encryption. The ProtonMail public key had two

sub-keys.

        12.    ProtonMail is an end-to-end encrypted email service founded in 2013 in Geneva,

Switzerland. ProtonMail uses client-side encryption to protect email content and user data before

they are sent to the ProtonMail servers. The service can be accessed through a webmail client, the

onion router (also known as the Tor) network, or dedicated iOS or Android apps. The service is

run by Proton Technologies AG. The company also operates ProtonVPN, a VPN service. In my

training and experience, individuals who engage in activities that they wish to keep hidden or

secret, or when they wish to keep their location hidden or secret, use an encrypted email service

like ProtonMail.

        13.    In addition, the FBI determined that the SD card contained metadata showing that

the card had been connected to a computer with a Macintosh operating system.

                   The FBI Begins Undercover Communication with “ALICE”

       14.     On December 26, 2020, the FBI initiated the first of several emails to “ALICE” on

ProtonMail. The FBI utilized a ProtonMail account utilizing the pseudo name “BOB.” The email

stated, “We received your letter. We want to work with you. It has been many months, so we need

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 to know ~fyou are still out there. Please respond to this message, then we will provide instruction

 how to proceed.”

           15.     On February 10, 2021, “ALICE” responded and stated, “Thank you for contacting

 me. I am still here. The covid disease has made it more difficult to find chances to check this

 email. Let us discuss how to proceed.”

           16.     On February 24, 2021, an FBI agent acting in an undercover capacity (“the UC”)

 responded and stated, “We understand the delay and hope you are well.       Our experts reviewed

the information you provided. We would like as sample your [US. Navy Information         —   Spec~flc

Sections].’ We have a trustedfriend inyour country who has agjftfor you to compensatefor your

efforts.   .   .




           17.     On March 5, 2021, “ALICE” replied with the following. “Jam uncomfortable with

this arrangement. Face to face meetings are very risky for me, as I am sure you understand. I

propose exchanging gifts electronically, for mutual safety. I can upload documents to a secure

cloud storage account~, encrypted with the key I have provided you. You can send me a suitable

g~ft in Monero cryptocurrency to an address I will provide. 100,000 usd should be enough to

prove to me that you are not an unwelcome third party looking to make trouble for me. When I

have confirmed receipt ofyour gift, I will provide you the download link. We are both protected.

I understand this is a large request. However~ please remember I am risking my life for your

benefit and I have taken the first step. Please help me trust you fully.”




 The specific wording here contains non-public Restricted Data.

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        18.     According to public sources, Monero is a decentralized cryptocurrency that uses a

 publicly distributed ledger with privacy-enhancing technologies that obfuscate transactions to

 achieve anonymity and fungibility.

        19.     On March 18, 2021, the UC posing as a representative of COUNTRY1 wrote, “We

 understand a face to face meeting would be uncomfortable. We suggest a neutral drop location.

 When you visit the location alone, you retrieve a g~fi and leave behind the sample we request.

  We hope to have a very longfriendshz~ that benefits mutually.”

        20.     On March 22, 2021, “ALICE” replied. “Iunderstandyour proposal to start a dead

drop.   I am concerned that using a dead drop location your friend prepares makes me very

vulnerable. If other interested parties are observing the location, I will be unable to detect them.

lam not a professional, and do not have a team supporting me. Jam also concerned that a physical

g~Ji would be very d~fficult to explain   ~f I am questioned.   For now, I must consider the possibility

that you are not the person I hope you are. It would be very easyfor the serial numbers of bills to

be recorded. Tracking devices and other nasty surprises must be considered as well. Ipropose to

mod~ your plan in the following ways:

                1. I will place the sample you requested on a memory card and place it in a drop

               location of my choosing... .1 am not a professional~ and I am sure that publicly

               available information on this subject is incomplete.

               2.   The samples will be encrypted using GnuPG symmetric encryption with a

               randomly generated passphrase.

               3. I will tell you the location and how tofind the card. I will also give you a Monero

               address. This form of g~fi protects both of us very well. Jam very aware of the



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               risks of blockchain analysis of BitCoin and other cryptocurrencies, and believe

               Monero gives both us excellent deniability.

               4. Once I confirm recezpt of my gift, I will give you the passphrase.

               Your friend and I will never go to the same drop location twice. I will give you a

               new Monero address each time. The decryption key will be d~’fferent each time. No

               patterns for third parties to observe. The only electronic footprints will be Proton

               to Proton, so there is less risk ofencrypted traffic being collectedforfuture analysis

               by third parties. That part is not perfect. Perhaps as our friendship develops we

               will change addresses periodically?”

       21.     On April 1, 2021, the UC posing as a representative of COUNTRY 1 responded to

“ALICE” and stated, “We understandyour concern and appreciate the though~’ful plan... as a sign

of goodfaith and trust we wish to pay you equivalent of 10,000 USD immediately on Monero to

address you provide. Drop locations are safest and allow us to make exchanges without coming

in contact and of course leave no electronic footprint... Your proposed method of memory card

with encryption/passphrases is acceptable. For the small sample we requested you will receive

another 20,000 USD. Once you confirm Monero address we will activate payment. Our next step

will be information on drop location we have selected. This method will build trust between usfor

a larger transaction infuture. Our experts are interested in information you have but we insist on

maintaining our discretion and security as aprioriry.”

 The FBI Conducts a Signal Operation in the Washington, D.C. Area over Memorial Day
                                      Weekend

       22.     On April 9, 2021, “ALICE” wrote, “I am sorry to be so stubborn and untrusting,

but I can not agree to go to a location ofyour choosing. I must consider the possibility that lam


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 communicating with an adversary who has intercepted my first message and is attempting to

 expose me. Would not such an adversary wish me to go to a place of his choosing, knowing that

 an amateur will be unlikely to detect his surveillance? Ifyou insist on my physically delivering

 the package, then it must be a place of my choosing. I ask you to consider the viability of an

 electronic dead drop. I can establish an encrypted online storage account without providing any

 identtfying information and without provoking any suspicion...Another possibility occurs to me:

 is there some physical signal you can make that proves your identity to me? I could plan to visit

 Washington D.C. over the Memorial Day weekend. I wouldjust be another tourist in the crowd.

Perhaps you couldfly a signal flag on your roof? Something easily observable from the street,

 but nothing to arouse an adversaries suspicion?...   “.




        23.     On April 23, 2021, the UC posing as a representative of COUNTRY1 emailed the

following: “You do not need to apologize. We appreciate you being careful. That is much better

than someone reckless. Your thoughtful plans indicate you are not amateur. This relationship

requires mutual comfort.    There is risk on both sides and we understand your need for safety

assurance of who you are communicating with. As you suggest we can accommodate a signal in

 Washington D.C. over the Memorial Day weekend. We will set a signalfrom our main building

observable from the street. It will bring you comfort with signal on displayfrom area inside our

property that we control and not a [sic] adversary. Ifyou agree please acknowledge. We will

then provide more instruction about the signal. We hope this plan will continue to build necessary

trust and comfort of our identity.”

        24.    On May 5, 2021 “ALICE” wrote, “I will make plans to be in the capitol [sic] over

the Memorial Day weekend. It would be best to leave the signal visible for the entire holiday



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 weekend so I can plan to pass by in the natural course of my tourist day. I may be onfoo4 or

 passing by in a bus or car or bicycle, so please plan for something easy to spot.

         25.     On May 17, 2021, the UC posing as a representative of COUNTRYiresponded and

 said, in part, “We are happy to set a signal to bring you comfort and build necessary trust between

 us.   The signal will be inside our main building from Saturday morning until Sunday evening

 Memorial Day weekend.”

         26.     During the weekend of May 29-30, 2021, the FBI conducted an operation in the

 Washington, D.C. area that involved placing a signal at a location associated with COUNTRY 1 in

 an attempted effort to gain bona fides with “ALICE.”

         27.     On May 31, 2021, the FBI received confirmation via the ProtonMail from “ALICE”

 that the signal was received. “ALICE” also wrote that, “Now Jam comfortable telling you your

 assumption that Pittsburgh would be a convenient location for me is incorrect.. .for now I can tell

you I am located near Baltimore, Maryland. Please let me know when you are ready to proceed

 with our first exchange. Once you have drop location details for me, I will give you the Monero

 address and prepare the sample you have requested.” “ALICE” went on to request clarity of the

 U.S. Navy information requested by the UC posing as a representative of COUNTRY 1.

               The FBI Pays ALICE $10,000 USD as Sign of Good Faith and Trust

         28.     On June 4, 2021, the UC posing as a representative of COUNTRY 1 requested the

Monero address to provide “ALICE” a payment of $10,000 USD as a sign of good faith and trust.

The UC also informed “ALICE” that new communication instructions would be provided at the

exchange location.

         29.     On June 8, 2021, “ALICE” wrote that, “For maximum security it is very important

that you do not send Monero to the same address twice.” “ALICE” then provided the FBI with a

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  payment address. “ALICE” then went on to state, “I will place information you have requested~

  encrypted, on a memory card along with the addressfor the secondpayment you offered in aplain

  text file. After I confirm the second paymen4 I will provide you with the decryption passphrase

  using the new communication method. Jam also excited to continue our relationship..         .




           30.   On June 10, 2021, the FBI paid “ALICE” approximately $10,000 USD in Monero

 cryptocurrency.

           31.   On June 17, 2021, “ALICE” thanked the FBI for the first payment and stated that

 he/she was, “eagerly waitingfor your instructions.”

           The FBI Conducts Dead Drop Operation in Jefferson County, West Virginia

           32.   On June 18, 2021, the UC posing as a representative of COIJNTRY1 emailed

 “ALICE” to provide detailed instructions on servicing a dead drop location in Jefferson County,

 West Virginia to occur on June 26, 2021. The UC discussed instructions regarding the next

 payment to “ALICE” as well as additional assurance that “ALICE” would be paid $20,000 upon

 the sample verification and authenticity of the information provided at the drop location.

           33.   On June 23, 2021, “ALICE” sent the FBI a confirmation email stating, “I

 understand your instructions and am ready to move forward.”

           34.   On June 26, 2021, at approximately 10:41 a.m., the FBI observed JONATHAN

 TOEBBE physically service a dead drop location in Jefferson County, West Virginia. Records

 show that JONATHAN TOEBBE is a government employee working as a nuclear engineer for

 the United States Navy and holds an active Top Secret Security Clearance through the United

 States Department of Defense and an active    Q   clearance from the United States Department of

 Energy.



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         35.    On the same date and time, the FBI also observed JONATHAN TOEBBE’s

  spouse, DIANA TOEBBE, standing approximately one meter away from JONATHAN

  TOEBBE during the servicing of the dead drop location. Based on my experience and training, it

  appeared that DIANA TOEBBE assisted JONATHAN TOEBBE during the dead drop operation.

 DIANA TOEBBE appeared to act as a lookout for JONATHAN TOEBBE during the drop and

 survey the surrounding area. Thereafter, DIANA TOEBBE signaled to JONATHAN TOEBBE

 to proceed on a trail after JONATHAN TOEBBE completed the drop. Records show that DIANA

 TOEBBE is a faculty member and humanities teacher in Annapolis, Maryland.                 Both

 JONATHAN TOEBBE and DIANA TOEBBE reside in Annapolis, Maryland.

         36.    Following the servicing of the dead drop location, both JONATHAN TOEBBE

 and DIANA TOEBBE were observed walking through a more populated area near the location of

 the dead drop. From my experience and training, it appeared that both JONATHAN TOEBBE

 and DIANA TOEBBE were conducting surveillance detection routes, meaning that they were

 moving in a way to attempt to detect whether they were being surveilled or followed.

        37.     In total, the FBI observed JONATHAN TOEBBE and/or DIANA TOEBBE

 arrive in the location of the dead drop at approximately 9:44 a.m. and depart the location at

 approximately 11:22 a.m. During this approximate time frame, the FBI observed a vehicle

 registered to JONATHAN TOEBBE parked in a visitor’s lot.

        38.     Later on the same date, June 26, 2021, the FBI recovered a blue 16GB SanDisk SD

 Card left by JONATHAN TOEBBE at the dead drop location. The SD card was wrapped in

 plastic and placed between two slices of bread on a half of a peanut butter sandwich. The half

 sandwich was housed inside of a plastic bag.



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        39.     On June 28, 2021, “ALICE” sent a ProtonMail message, providing the Monero

  address for payment. On the same date, the FBI electronically paid “ALICE” approximately

  $20,000 USD in Monero.

        40.     On June 29, 2021, “ALICE” provided the password to the FBI in an encrypted

 ProtonMail message. The FBI subsequently opened the provided SD card and provided the

 contents to the U.S. Navy subject matter expert.        The U.S. Navy determined that multiple

 documents on the SD card contained Restricted Data. Specifically, the U.S. Navy subject matter

 expert determined that several of the documents contained militarily sensitive design elements,

 operating parameters, and performance characteristics of Virginia-class submarine reactors.

        41.     The SD card contained the following typed message from “ALICE”:

        I hope your experts are very happy with the sample provided and I understand the
        importance of a small exchange to grow our trust. Most of the material I possess
        is similar in format multz~le pages per sheet. Drafted drawings are split over
                             —


        several regular sheets to preserve good detail. And I used color where it seemed
        important like graphs with several lines.
                     —




        I expect your new communication instructions will be just as clear and safe as your
        drop instructions. However, I suggest you continue to monitor your Proton until I
        am able to establish contact with your new method. Ifthere is a problem, I will use
        it to request help. All ofmy previous emails have been signed:

        Yours truly,

        Alice

        If it is ever necessary to Proton you again, I will end the email with

        Sincerely,

        Alice

        instead to assure you the message is from me and that Jam not under duress.

        For now, I propose we continue with weekend exchanges at suitable parks and
        trails, similar to this one. Details ofmy daily routine may narrow an investigator’s

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         search too much ~fyour organization is infiltrated by an adversary one day. Hiking
         and visiting historical sites is easier to explain than unexpected stops during rush
         hour ~f they ever take a special interest in me.

           we are to continue using this method of exchange long term, it is very important
         that I have as much flexibility in timing my deliveries as possible. I would like to
         create a natural legendfor my interest in visiting a particular place in the future
                                                                                           —


         reading articles about tenfun things to do in Baltimore this month and “stumbling”
         across a beautiful hike close to home, for example. Bad weather on one day might
         ruin that cover story.

         I hope you will forgive my excess caution. I want our relationship to be very
         successfulfor us both, and that means that I must be very careful at every step.

         Yours truly,

        Alice

         42.    In addition, FBI analysis of the SD card showed that it contained metadata

  indicating that the card had been connected to a computer with the same version of Macintosh

 operating system as the SD card contained in the package postmarked April 1, 2020, and described

 in Paragraph 13 above.

     Investigation Reveals JONATHAN TOEBBE is a U.S. Navy Technical Expert on the
    Information Passed in the April 2020 Package and at the June 2021 Dead Drop with a
            Prior Working History at a U.S. Navy Facility Located Near Pittsburgh

        43.     As indicated above, the FBI determined that JONATHAN TOEBBE performed

 the June 26, 2021 dead drop described above. JONATHAN TOEBBE has worked for the U.S.

 government since 2012.

        44.     From October 2012 to the present, JONATHAN TOEBBE has worked on matters

 of naval nuclear propulsion.      JONATHAN TOEBBE has been assigned to the Reactor

 Engineering Division of the U.S. Navy, which is responsible for new and operating reactor plant

 noise and vibration technology and for assisting with reactor plant shock technology and design,

 manufacturing, and testing. JONATHAN TOEBBE has also been assigned to Bettis Atomic

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  Power Laboratory, a U.S. Government-owned research and development facility in the Pittsburgh

  suburb of West Mifflin, Pennsylvania that works exclusively on the design and development of

  nuclear power for the U.S. Navy.     During one or both of these assignments, JONATHAN

  TOEBBE had access to the U.S. Navy information passed in both the physical letter to

  COUNTRY 1 as well as the electronic U.S. Navy information passed in the dead drops on June 26,

 2021, and August 28, 2021, which is described below in paragraphs 52-64.

         45.      On September 28, 2017, JONATHAN TOEBBE was released/discharged from

 Active Duty and maintained a reserve obligation termination date of July 23, 2020. The reason

  listed for his separation was that JONATHAN TOEBBE completed his required active service.

         46.      On March 25, 2020, JONATHAN TOEBBE’s TS clearance was renewed. This

 renewal was just days before the April 1, 2020 postmark date on the package sent to COUNTRY 1.

             The FBI Conducts a Dead Drop Operation in South-Central Pennsylvania

         47.      Concurrent with its investigation into JONATHAN TOEBBE and DIANA

 TOEBBE, the FBI planned the next dead drop operation for south-central Pennsylvania.

         48.     On July 31, 2021, the FBI observed JONATHAN TOEBBE and DIANA

 TOEBBE travel from their Annapolis residence to south-central Pennsylvania, where

 JONATHAN TOEBBE was observed servicing a dead drop. While JONATHAN TOEBBE

 serviced the dead drop, DIANA TOEBBE was nearby. When JONATHAN TOEBBE finished

 servicing the dead drop, he signaled for DIANA TOEBBE to follow him as he departed the

 location.     Within seconds, the FBI observed DIANA TOEBBE following JONATHAN

 TOEBBE as he departed the location of the dead drop. The FBI observed that JONATHAN

 TOEBBE and DIANA TOEBBE arrived and departed the area in the same vehicle used to travel

 to and from the dead drop location on June 26, 2021.

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          49.     Later on the same date, July 31, 2021, the FBI recovered a 32GB SD card left by

  JONATHAN TOEBBE at the dead drop location. The SD card was hidden in a sealed Band-Aid

  wrapper with a Band-Aid inside a clear Zip Lock bag. The FBI had observed JONATHAN

  TOEBBE remove the Ziploc bag from his left shorts pocket, place the bag in an FBI-designed

  container, and remove a written message the FBI had placed in the container for him.

          50.     The SD card contained the following typed message from “ALICE.” The word

  [REDACTED] appears where the original message contained classified information or Restricted

  Data.

          You can not imaging [sic] my relief atJinding your letterjust where you told me to
          look! Indeed~ this has been a longjourney and Jam very happy to have a reliable
          professional partner in you. Jam sure my unconventional approach was worrying
          your superiors. Thank you for taking the risks you have to build the mutual trust
          we need to move forward.

          I appreciate your compliment of my efforts to secure our communication. It was
          very challengingfor an amateur to quietly gather information on how to reach you.
          Now that we have established a more secure method to write, please tell me ~f I
          make a mistake or ~f you have advice on how to accomplish a task so that I can
          improve my skills and reduce our shared risk. For example, thank you for the
          reminder to use cash only. I have been doing so at every step, and do not feel
          insulted at all. Since my seif education is sure to have gaps, it is likely I will not
          know all things that are simple and obvious to you.

          You have anticipated my needfor flexibility in timing deliveries perfectly. Use of
          the new Proton with the code method in your letter is a good solution. My new
          Proton is actually an old one I established quietly with a cash only burner phone
          while on vacation several years ago. My original contact plan was to give the login
          details to you, but I abandoned it as needlessly complicated. So it has been unused
          ever since for any purpose except to sign up for afew innocent~, randomly chosen
          mailing lists to generate regular uninteresting traffic. I will continue to use public
          WiFi and the TOR .onion connection to Proton to prevent an adversary from
          watching TOR entrance/exit nodes.

          In your letter you requested I send two Protons: one with the Monero address and
          one with the decryption key. On the last SD card~ I included the Monero address
          in the unencrypted file 1.txt. My idea was: your payment for the right amount to
          the right address tells me you successfully retrieved the card~ and my sending the

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       key tells you I have received your letter andpayment and am ready to take the next
       step. The only small advantage to my plan is you do not need to waitfor my Proton
       with address. Is there a reason it is safer to send address separatefrom encrypted
       data? I willfollow the plan in your letter unless you think it is better to change.

       As I said in my last letter I hope your experts are very happy with the sample
       provided. In total, Ipossess the following documents:

       1.    [REDACTED] 374 pages (4 pages per shee4 as with sample). Note the table
            of contents indicates there are additional sections [REDACTED]. They were
            not included in files I had normal access to since they relate mostly to the
            reactor heavy equipment and there was no plausible reason for me to request
            them in my job. As this document is only a high level summary of the
            [REDACTED] design, the missing sections are of little importance.

       2. [REDACTED] 1032 sheets. Every page of every drawing listed in section
          [REDA CTED] is there. To preserve good detail~ I scaled the drawings to fit
          one large drawing page over several normal sheets. All [REDACTED] are
          present.

       3. [REDA CTED] 7919 pages (4 pages per sheet). The [REDA CTED] reports the
          detailed results of all [REDACTED] done to predict the behavior of the
          [REDACTED] during normal [REDACTED].                  The [REDACTED] also
          documents the design basis assumptions used to carry out these analyses. Your
          technical experts should be able to use this information and the [REDACTED]
          to ver~5~’ the results using their own [REDACTED] codes.

       4. [REDACTED] 1940 sheets a mix of schematics and drawings (spread over
                                       —


          multzple sheets for legibility,), operating procedure (2 pages per sheet), and
          descriptive chapters (4 pages per sheet).          The [REDACTED] is the
          [REDACTED] provided to US. Navy crews. How to operate [REDACTED].
          How to [REDACTED]. Troubleshooting problems. Routine Maintenance.
          Your naval experts will be able to adapt these procedures to fit your own
          operations. Operating a [REDACTED] has many unique aspects, and the
          [REDACTED] reflects decades of US. Navy “lessons learned” that will help
          keep your sailors safe.

       5. [REDACTED]. Similar informat and scope to the [REDACTED] they are high
          level summaries. I did not have access to more detailedfilesfor these projects.
          But I think you are most interested in the [REDACTED] data an~ay.

       This information was slowly and carefully collected over several years in the
       normal course of my job to avoid attracting attention and smuggled past security
       checkpoints a few pages at a time. I no longer have access to class~fIed data so
       unfortunately cannot help you obtain other files. But I can answer your experts
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         [sic] questions using my own knowledge, if we can establish a secure and
         confidential means of communication.

        I have divided the [REDACTED] into fifty one packages, all but the last have 100
        sheets each. The first contains the [REDACTED] and the first of the drawings. If
        lunderstand your letter correctly, you offer an additional 70~000 USD Monero for
        the [REDACTED]. Ipropose the same payment schedule for the remaining files:
        JOQ,000 USD Monero each for the 49 packages, not additional for 51. In total~
        5,000,000 USD Monero.

        The amount per transaction is, in part a security measure. As you noted in your
        letter, US. securityforces are lazy. They also have limited budgets. Bait of] 0,000
        or 20,000 USD to catch an agent are within their normal activities. 100,000 USD
        and more? They may offer it, but they will not deliver such a large amount. New
        reports confirm this is a common tactic used by US. security forces to expose
        agents. Please do not be offended by this, but your generosity so far also matches
        exactly an adversaries [sic] likely play to entrap me.

        We can exchange multiple packages at a time, if your superiors are comfortable
        with this arrangement. For security, I would strongly prefer not to make 50
        separate drops to complete our business. But I understand you will want experts
        to evaluate the delivery. Maybe best to start with 1 package and increase as our
        trust grows? I suggest a simple code sent through Proton: email me the number
        ofpackages you want at the next drop. “1 “forjust the [REDACTED], “2 “for the
        [REDACTED] and another package, and so forth.

        Myfriend, we have both taken considerable risks to reach this point and with good
        luck will soon have much to celebrate!

        Yours truly,

        Alice

        51.     As referenced above, the Tor network is an open-source software that enables

 anonymous communication by directing Internet traffic through a free, worldwide, volunteer

 overlay network consisting of more than six thousand relays to conceal the user’s location and

 usage from anyone conducting network surveillance of traffic analysis. The Tor network allows

 users to operate websites, called “hidden services,” in a manner that conceals the true IP address

 of the computer hosting the website. Although law enforcement agents may be able to view and


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  access hidden services that are facilitating illegal activity, the IP address of a Tor hidden service

  cannot be determined via public lookups. Neither law enforcement nor hidden service users can

  determine the true IP address   —   and therefore the location   —   of the computer server that hosts a

  hidden service through public lookups or ordinary investigative means.

         52.     On August 13, 2021, the (JC posing as a representative of COUNTRY 1 sent an

  email to the previously provided Proton email address, stating “1” as a signal for a request for one

  package at the next drop on August 27, 2021.

                 The FBI Conducts a Dead Drop Operation in Eastern Virginia

         53.     On August 27, 2021, at approximately 11:12 p.m., the FBI observed JONATHAN

  TOEBBE depart his Annapolis residence as the sole occupant of a vehicle. JONATHAN

  TOEBBE was carrying a backpack.

         54.     On August 27, 2021, at approximately 11:35 p.m., “ALICE” sent a ProtonMail

 message confirming the dead drop date of August 28.

         55.     On August 27, 2021, at approximately 11:36 a.m., “ALICE” provided a Monero

 address to the FBI in a ProtonMail message.

         56.     On August 27, 2021, at approximately 11:52 p.m., the FBI observed JONATHAN

 TOEBBE return to his Annapolis residence as the sole occupant of the same vehicle.

 JONATHAN TOEBBE was carrying a backpack. Between approximately 11:12 p.m. and 11:52

 p.m., JONATHAN TOEBBE’s cell phone remained on and at the residence, according to GPS

 location information.

         57.     On August 28, 2021, the FBI observed JONATHAN TOEBBE service a dead drop

 in eastern Virginia. The FBI observed JONATHAN TOEBBE place an item in the container and

 remove a written message placed in the container by the FBI. The FBI did not observe anyone

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  assisting in the service of the dead drop. JONATHAN TOEBBE had arrived at the dead location

  operating a vehicle in which he was the sole occupant.

         58.     Later on August 28, 2021, the FBI retrieved the contents of the dead drop, which

  consisted of an SD card concealed in a chewing gum package.

         59.    On the evening of August 28, 2021, the FBI electronically paid “ALICE”

  approximately $70,000 USD in Monero, bringing the total amount paid to date to $100,000 USD.

         60.    On August 29, 2021, at approximately 8:56 a.m., the FBI observed JONATHAN

  TOEBBE depart his Annapolis residence as the operator of a vehicle also occupied by one of his

  minor children. JONATHAN TOEBBE was carrying a backpack.

         61.    On August 29, 2021, at approximately 9:35 a.m., “ALICE” provided the password

 to the FBI in an encrypted ProtonMail message. The FBI subsequently opened the SD card and

 provided the contents to the U.S. Navy subject matter expert. The U.S. Navy subject matter expert

 determined that multiple documents on the SD card contained Restricted Data. Specifically, the

 U.S. Navy subject matter expert determined that the document contained schematic designs for the

 Virginia-class submarine. Virginia-class submarines are nuclear-powered cruise missile fast-

 attack submarines, which incorporate the latest in stealth, intelligence gathering, and weapons

 systems technology. Virginia-class submarines, with a per unit cost of approximately $3 billion,

 are currently in service with the United States Navy and are expected to remain in service until at

 least 2060.

         62.    In addition, FBI analysis of the SD card showed that it contained metadata

 indicating that the card had been connected to a computer with the same version of Macintosh

 operating system as the SD card contained in the package postmarked April 1, 2020, and described

 in Paragraph 13 above.

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        63.    The SD card contained the following typed message from “ALICE”:

       First: lam very sorryfor the confusion about this drop! When Ifirst read your..
         letter~ I didn’t check what day of the week your proposed date was and assumed
       it was a Saturday. I was horrified to notice this detail while rereading your letter
       to walk through the exchange location one last time before sleeping. I hope my
       amateurish mistake caused you no serious trouble.

       When I looked at your proposed drop site on a map, I was at first very alarmed.
       Considering the rules you explainedfor selecting a location, it does not seem to be
       in a very good neighborhood. However, I place my faith in your experience and
       hope for a happy outcome.

        I have considered the possible need to leave on short notice. Should that ever
        become necessary, I will be forever grateful for your help extracting me and my
       family. Isurmise thefirst step would be unannounced travel to a safe third country
        with plans to meet your colleagues. We have passports and cash set aside for this
       purpose. Ipray such a drastic plan will never be needed, but you are right: it is a
        comfort to know you are ready and willing to aid us. Please let me know what I
        should do to prepare for this last resort.

       You asked ~f I am working alone. There is only one other person I know is aware
       of our special relationshzp, and I trust that person absolutely. I was extremely
       careful to gather the files I possess slowly and naturally in the routine of my job,
       so nobody would suspect my plan. We received training on warning signs to spot
       insider threats. We made very sure not to display even a single one. I do not believe
       any ofmyformer colleagues would suspect me, ~f there is a future investigation

        The previous two exchanges were easy to find thanks to your excellent guidance.
        Based on the photos of this one, I am sure I had no trouble finding it to put this
        letter in your hands. I am nervous that this one isfurther and more obviously off
        the typical path. IfI am observed~ an explanation will be more d~fficult. Jam sure
        it is a balance, to ensure the container is notfound accidentally. But too far from
        the trail exposes you and me to another risk ofnot appearing as natural tourists or
       joggers. For similar reasons, [the south-central Pennsylvania location] made me
        uncomfortable with only one logical parking area for a motorist and a literal
        observation tower overlooking the path start. I would prefer future drops to have
        multz~le natural entrances and exits so that I can plan my own approach and retreat
        more easily. I hope this does not sound to you as overly critical. I am sure a
       professional would have no trouble, but Jam painfully aware that I lack training in
        observation and blending in. Staying outside cities is very wise let us continue
                                                                          —


        with locations with [sic] an hour ofBaltimore.

       I understand your instructions on the use of overlapping Protons and the short
       signals we can use. Thanks to my mistake on the date, we have both made use of

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        it. I also emailed the payment address to limit the number of times I go out to
        connect to public WiFi. Rest assured, I always use a TO]? onion connection to
        Proton, and never use a coffee shop or store close to home.

        Although I am not positioned to acquire more documents than those listed in my
         last letter I was serious in my offer to help address questions from your technical
         experts. I hope your letter, or your next will suggest how to open a secure channel
        for that aid.

        Thankyoufor your partnership as well~ myfriend. One day, when it is safe, perhaps
        two old friends will have a chance to stumble into each other at a cafe, share a
        bottle ofwine and laugh over stories of their shared exploits. A fine thought, but I
        agree that our mutual need for security may make that impossible. Whether we
        meet or no [sic], Iwill always remember your bravery in serving your country and
        your commitment to helping me.
        Yours truly,

        Alice

        64.      Based on my training and experience, when JONATHAN TOEBBE says “only

 one other person I know is aware of our special relationship, and I trust that person absolutely,” I

 believe he is referring to his wife, DIANA TOEBBE.

        65.      On August 29, 2021, at approximately 10:12 a.m., the FBI observed JONATHAN

 TOEBBE return to his Annapolis residence as the sole occupant of the same vehicle.

 JONATHAN TOEBBE was carrying a backpack.

                                           CONCLUSION

        66.      Based on the forgoing, there is probable cause that   —




              a. From or about an unknown date but no later than on or about April 1, 2020, through

                 on or about October 9, 2021, in Jefferson County, West Virginia, within the

                 Northern District of West Virginia, and elsewhere, the defendants, JONATHAN

                 TOEBBE and DIANA TOEBBE, lawfully and unlawfully having possession of,

                 access to, control over, and being entrusted with a document, writing, sketch, plan,


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                note, and information involving and incorporating Restricted Data within the

                meaning of the Atomic Energy Act, specifically 42 U.S.C.     § 20 14(y), did combine,
                conspire, confederate, agree and have a tacit understanding with each other to

                communicate, transmit, and disclose the same to another person with the intent to

                injure the United States and to secure an advantage to a foreign nation. During this

                period, a conspirator committed at least one overt act in furtherance of the

                conspiracy in the Northern District of West Virginia, in violation of 42 U.S.C.

                §sS 2274(a) and 2014.

             b. On or about June 26, 2021, in Jefferson county, West Virginia, within the Northern

                District of West Virginia, the defendants, JONATHAN TOEBBE and DIANA

                TOEBBE, having possession        of, access to, and having been entrusted with a

                document, writing, sketch, plan, note, and information involving and incorporating

                Restricted Data within the meaning of the Atomic Energy Act, specifically 42

                u.s.c. § 20 14(y), to wit: militarily sensitive design elements, operating parameters,
                and performance characteristics of Virginia-class submarine reactors, did

                unlawfully and knowingly communicate, transmit, and disclose the same to another

                person with the intent to injure the United States and to secure an advantage to a

                foreign nation, in violation of 42 U.S.C. §~S 2274(a) and 2014, and 18 U.S.C. § 2(a).

       67.      Accordingly, I request that the Court issue the proposed arrest warrants.




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                                                 Respectfully submitted,



                                                 J in Van Tromp
                                                 Special Agent
                                                 Federal Bureau of Investigation




       Subscribed and sworn to before me on October 8, 2021.




       F(ON~ORABL1~ ROBERTtW. TRUMI~LE
       UNITED STATES MAGISTRATE JUDGE




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